                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                             §
MOHAMED ELHASSAN MOHAMED,                                    §
as next friend for A.M., a Minor,                            §
                                                             §
         Plaintiff,                                          §
                                                             §
v.                                                           §           Civil Action No. 3:16-cv-2283-L
                                                             §
IRVING INDEPENDENT SCHOOL                                    §
DISTRICT, DANIEL CUMMINGS, in his                            §
individual capacity, and CITY OF                             §
IRVING,                                                      §
                                                             §
         Defendants.                                         §

                                MEMORANDUM OPINION AND ORDER

         Before the court are: Defendant City of Irving’s Motion to Dismiss (Doc. 8), filed October

6, 2016; Defendant Irving Independent School District’s Motion to Dismiss and Motion to Strike

(Doc. 10), filed October 11, 2016; Defendant Daniel Cummings’s Motion to Dismiss and Motion

to Strike (Doc. 11), filed October 11, 2016; and Defendant Irving Independent School District and

Daniel Cummings’s Joint Motion to Stay Discovery Pending Resolution of Motions to Dismiss

(Doc. 22), filed December 1, 2016. Having considered the motions, responses,1 replies, pleadings,

record, and applicable law, the court grants Defendant City of Irving’s Motion to Dismiss (Doc. 8);

grants Defendant Irving Independent School District’s Motion to Dismiss and denies as moot its

Motion to Strike (Doc. 10); grants Defendant Daniel Cummings’s Motion to Dismiss and denies

         1
           In Plaintiffs’ Response to Defendant City of Irving’s Motion to Dismiss (see Doc. 15), Plaintiff has modified
the caption to the lawsuit to contain individual police officers as Defendants. Plaintiff has not asserted any claims against
these individuals in the live pleading. See Compl. (Doc. 1). The City has objected to this “unauthorized and
inappropriate modification” of the caption. See City’s Reply 2 (Doc. 18). The court sustains the City’s objection and,
accordingly, strikes the names of the individual officers from the caption in Docket No. 15.

Memorandum Opinion and Order - Page 1
as moot his Motion to Strike (Doc. 11); and denies as moot Defendant Irving Independent School

District and Daniel Cummings’s Joint Motion to Stay Discovery Pending Resolution of Motions to

Dismiss (Doc. 22). Plaintiff will be permitted to file an amended pleading to the extent herein set

forth.

I.       Background

         This is an action for monetary and injunctive relief under 42 U.S.C. § 1983 against

Defendants Irving Independent School District (“IISD”); Principal Daniel Cummings (“Principal

Cummings”), sued in his individual capacity only; and the City of Irving (the “City”). Also, this is

an action against the IISD for alleged violations of Title VI of the Civil Rights Act of 1964. Plaintiff,

Mohamed Elhassan Mohamed, a Sudanese immigrant who is now a United States citizen, brings this

lawsuit as next friend for his minor son, A.M., who is an African-American Muslim and a former

student at McArthur High School (“McArthur”), a public high school in the IISD.2

         The lawsuit arises from A.M.’s September 14, 2015 arrest and three-day suspension from

McArthur after he brought to school a homemade contraption containing wires and batteries that

made a beeping sound. Plaintiff alleges that both the IISD and Principal Cummings violated A.M.’s

Fourteenth Amendment constitutional right to equal protection of the laws when Principal

Cummings imposed a three-day suspension from school to discipline A.M. after he brought the

device to school. In addition to his section 1983 claims against the IISD and Principal Cummings,

Plaintiff contends that the IISD violated Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d

(“Title VI”), by discriminating against him on the basis of his race and religion. Plaintiff has also



         2
         Although the caption to the Complaint states the full name of A.M., the court uses his initials, as A.M. is a
minor. See Fed. R. Civ. P. 5.2(a).

Memorandum Opinion and Order - Page 2
sued the City, alleging violations of A.M.’s rights under the Fourth and Fifth Amendments to the

Constitution in connection with his interrogation and arrest by police officers employed by the City.

        The court now sets forth the facts drawn from Plaintiff’s Original Complaint (“Complaint”),

the live pleading. See Compl. (Doc. 1). The court accepts all well-pleaded facts in the Complaint

as true and views them in the light most favorable to Plaintiff. Sonnier v. State Farm Mut. Auto. Ins.

Co., 509 F.3d 673, 675 (5th Cir. 2007).

        A.      Allegations Relating to September 14, 2015 Arrest and Suspension of A.M.

        On September 14, 2015, A.M., then a 14-year-old freshman, brought a homemade device to

school in an “8 ½" by 5" Vaultz pencil box” that included “a 7 segment display, a pcb board, a 9 volt

battery, some wires (from a media player that wasn’t working), a 120-240 volt transformer, [and]

a button board.” Compl. ¶ 53. A.M. showed the device to one of his teachers who advised him to

keep it in his backpack. Id. ¶ 54. Later that same day, notwithstanding the teacher’s instruction,

A.M. showed the device to another student during a class. Id. The device made a beeping sound and

caught the attention of his English teacher, Erin West (“Ms. West”). Id. A.M. showed Ms. West

the device after class, and she asked: “[I]s that a bomb?” Id. A.M. told her it was an alarm clock.

Id. Ms. West confiscated the device from A.M., and it was held in the administrative offices of the

school for several hours. Id.

        Later that same day, Principal Cummings and City of Irving police officer Robin Howman

(“Officer Howman”) removed A.M. from the classroom and escorted him to a room where four or

more City police officers and a school counselor were waiting. Id. ¶ 56. A.M. was questioned for

“almost an hour and a half by the Irving police, despite his repeated pleas for his parents.” Id. ¶¶ 57-

58. A.M. repeatedly informed those present that the device was an alarm clock that he had made to


Memorandum Opinion and Order - Page 3
show his English teacher, not a bomb. A.M. never stated the device was anything other than a clock,

never threatened anyone with harm, never claimed to have made a bomb, and never attempted to

scare or cause alarm to anyone. Id. ¶ 57. When he asked for his parents, he was told that he could

not speak with them because he was in the middle of an interrogation. Id. ¶ 58. During the

interrogation, Principal Cummings told A.M. to write a statement and “threatened to expel him if

he did not.” Id. ¶ 59. A.M. was “terrified” and did not want to write anything. Id. Ultimately,

because he was threatened and did not have anything to hide, he wrote in a statement that he made

an alarm clock that the authorities thought was a bomb. Id.

       Despite A.M.’s insistence that the device was an alarm clock, and not a bomb, the police

officers present in the room forcefully pulled him out of his chair, handcuffed him, and arrested him.

Id. ¶ 60. The police officers took A.M. to the police station and “booked him as a criminal, with

mug shots and fingerprinting—all still without his parents.” Id.

       Thereafter, A.M.’s father arrived at the police station and, as he waited to see his son, Officer

Howman came to speak with him and informed him that A.M. had been arrested for taking a “hoax

bomb” to school and that he was still being processed and fingerprinted. Id. ¶ 63. A.M.’s father

tried to explain to Officer Howman that A.M. was interested in robotics and created things, but she

was unwilling to listen to his explanations. Id. Officer Mitchell then arrived on the scene and

repeated to A.M.’s father that A.M. had been arrested for brining a “hoax bomb” to school, and was

similarly unwilling to listen to A.M.’s father’s explanations. Id. ¶ 64. A.M.’s mother and sister

arrived, and the family was able to see A.M. after processing. Id. ¶ 65. After seeing their son, they

were instructed to leave the premises or risk having charges brought against them. Id. ¶ 67.




Memorandum Opinion and Order - Page 4
       Later that evening, A.M.’s father received an e-mail from Vice Principal Patrick Smith,

stating that A.M. would be suspended from McArthur for three days for violating the Student Code

of Conduct by possessing prohibited items. Id. ¶ 68. A.M. alleges that he was not in possession of

any items prohibited by the Student Code of Conduct. Id. All charges against A.M. were ultimately

dropped, and the City of Irving police chief admitted that the arrest of A.M. was a “mistake.” Id.

       Plaintiff alleges that the “United States Department of Justice has opened an investigation

into the conduct of the [IISD], not just with respect to the treatment of [A.M.], but regarding its

pattern of discrimination.” Id. ¶ 69. Plaintiff alleges that the investigation is ongoing. Id.

       B.      Allegations Relating to Racism in the IISD

       According to the Complaint, the IISD has an “ugly history of race struggles,” and the State

of Texas and the IISD have a “history of discrimination against Muslims in Texas curriculum and

schools.” Id. ¶ 9. Data from the Texas Education Agency (“TEA”) show racial disparities in student

discipline in the IISD between 2007 and 2015. Id. ¶¶ 15-22.

       In 2008, the IISD’s then-Superintendent entered into a “Memorandum of Understanding”

with the Irving Education Coalition in which the IISD agreed that it would have the data showing

racial disparities in student discipline and allegations of discrimination based on race analyzed. Id.

¶ 23. The IISD hired Dr. Mack Hines (“Dr. Hines”) “to provide professional development expertise

to teachers on how to develop desired positive behavioral responses from African American students

in the classroom.” Id. ¶ 24. Dr. Hines conducted a study and created a report titled “The Skin

They’re In.” Id. In the report, Dr. Hines “found that the most frequently cited area of racial disparity

was school discipline practices” and that African-American students were “reprimanded differently

and received suspensions more frequently.” Id. ¶ 26. Dr. Hines concluded that the findings from


Memorandum Opinion and Order - Page 5
his study pointed to “dysconscious racism,” which is “knowingly or unknowingly discriminating

against people because of race.” Id. ¶ 28. In September 2011, the Board of Trustees met with Dr.

Hines concerning his study and report and “reacted to the negative manner in which the report was

received (particularly where it concluded there was an IISD ‘race war’ between Hispanics and

African-Americans) by determining that Dr. Hines went beyond the scope of what he was hired to

do, did not use proper methodologies and they declined to implement his recommendations to

address the problems.” Id. ¶ 30.

        In 2011, Dr. Steven Jones (“Dr. Jones”), a white male, campaigned for election on the IISD

Board of Trustees against Nancy Jones, an African-American female incumbent, and during the

campaign he made racially charged statements, including calling the IISD a “black town” and stating

that “a vote for me is a vote against a black controlled school district.” Id. ¶ 29. After Dr. Jones was

elected, he filed two unsubstantiated complaints against the IISD’s then-Superintendent, Dr. Dana

Bedden (“Dr. Bedden”), an African-American male, and declared his intent to get Dr. Bedden fired.

Id. In 2013, the IISD investigated Dr. Jones, and he was ultimately censured by the Board of

Trustees for violating numerous school policies, including forbidding persons in the IISD from

speaking Spanish. Id. ¶¶ 32-34. Following his censure, there were new school board elections and

Dr. Jones was successful in filling the school board with “like-minded people.” Id. ¶ 34.

        C.      Allegations Relating to City’s Implementation of the Criminal Alien Program

        In 2006, the City instituted the Criminal Alien Program (“CAP”), a program run by the

Department of Homeland Security that “was meant to give local law enforcement officials access

to Immigration and Customs Enforcement (“ICE”) information and personnel to facilitate the

identification of serious, dangerous criminals and deport them.” Id. ¶ 36. A report by the University


Memorandum Opinion and Order - Page 6
of California, Berkeley School of Law indicated that CAP “leads to rampant profiling and wrongful

arrests.” Id. The report found that during the City of Irving Police Department’s participation in

CAP, there was a 150% increase in petty crimes arrests. Id. Plaintiff alleges that “Congress made

clear that ICE should have no greater enforcement priority than to remove deportable aliens with

serious criminal histories from the United States.” Id. Plaintiff further alleges that “the results of

Irving’s aggressive arrest policies didn’t target serious criminals.” Id. Plaintiff contends that after

the City of Irving Police Department implemented CAP, only 2% of ICE detainees were subject to

felony charges, while 98% were charged with misdemeanor offenses. Id. Plaintiff alleges that “[a]s

a result, Irving police officers engaged in a pattern of unconstitutional arrests.” Id.

         D.        The Federal Lawsuit3

         On August 8, 2016, Plaintiff filed this federal action as next friend of his minor son, A.M.

Plaintiff seeks an award of monetary damages against Principal Cummings, alleging that he

subjected A.M. to discriminatory discipline based on race and religion when he removed A.M. from

class, sought a written statement from A.M., and placed him on a temporary three-day suspension

from school, thereby violating A.M.’s Fourteenth Amendment right to equal protection of the laws.

Plaintiff also seeks monetary damages against Defendant IISD under 42 U.S.C. § 1983, alleging that

Principal Cummings was acting pursuant to an unconstitutional custom or practice of discriminatory

discipline against African-American students sanctioned by the IISD’s Board of Trustees. In

addition, Plaintiff seeks monetary damages against the IISD under Title VI, contending that A.M.’s


         3
           The court takes judicial notice that on September 21, 2016, Plaintiff filed a related state court lawsuit against
various media outlets and reporters, including Glenn Beck and Fox Television Stations LLC, asserting state law claims
of defamation in connection with media coverage of A.M.’s suspension and arrest. See Mohamed v. The Blaze, Inc.,
et al., Cause No. DC 16-12579, in the 162nd Judicial District Court, Dallas County, Texas. That case has since been
dismissed as to all Defendants except one. Plaintiff has filed a notice of appeal with respect to the court’s decision to
grant the various Defendants’ motions to dismiss and for attorney’s fees. That appeal is pending.

Memorandum Opinion and Order - Page 7
suspension constituted unlawful discrimination based on race and religion by an entity receiving

federal funds. As to the City, Plaintiff seeks monetary damages based on the City of Irving police

officers’ alleged violations of A.M.’s constitutionally protected rights under the Fourth and Fifth

Amendments in connection with his interrogation and arrest. In addition to alleging that an historical

pattern of discrimination by the City of Irving Police Department led to the A.M.’s unlawful

interrogation and arrest, Plaintiff contends that the City is liable for Fourth Amendment violations

based on its failure train and supervise its officers with respect to determining probable cause for

arrest, that the inadequate training caused the alleged constitutional violations, and that the City’s

policymakers were deliberately indifferent to the need for additional training. Plaintiff asserts that

Defendants are jointly and severally liable and, in addition to actual and compensatory damages,

seeks declaratory and injunctive relief, exemplary damages, attorney’s fees, and costs.

        All Defendants have filed motions to dismiss pursuant to Federal Rule of Civil Procedure

12(b)(6). The motions have been fully briefed and are ripe for adjudication.

II.     Applicable Legal Standard

        To defeat a motion to dismiss filed pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, a plaintiff must plead “enough facts to state a claim to relief that is plausible on its face.”

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007); Reliable Consultants, Inc. v. Earle, 517

F.3d 738, 742 (5th Cir. 2008); Guidry v. American Pub. Life Ins. Co., 512 F.3d 177, 180 (5th Cir.

2007). A claim meets the plausibility test “when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged. The

plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer

possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)


Memorandum Opinion and Order - Page 8
(internal citations omitted). While a complaint need not contain detailed factual allegations, it must

set forth “more than labels and conclusions, and a formulaic recitation of the elements of a cause of

action will not do.” Twombly, 550 U.S. at 555 (citation omitted). The “[f]actual allegations of [a

complaint] must be enough to raise a right to relief above the speculative level . . . on the assumption

that all the allegations in the complaint are true (even if doubtful in fact).” Id. (quotation marks,

citations, and footnote omitted). When the allegations of the pleading do not allow the court to infer

more than the mere possibility of wrongdoing, they fall short of showing that the pleader is entitled

to relief. Iqbal, 556 U.S. at 679.

        In reviewing a Rule 12(b)(6) motion, the court must accept all well-pleaded facts in the

complaint as true and view them in the light most favorable to the plaintiff. Sonnier, 509 F.3d at

675; Martin K. Eby Constr. Co. v. Dallas Area Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004);

Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996). In ruling on such a motion, the court cannot look

beyond the pleadings. Id.; Spivey v. Robertson, 197 F.3d 772, 774 (5th Cir. 1999). The pleadings

include the complaint and any documents attached to it. Collins v. Morgan Stanley Dean Witter, 224

F.3d 496, 498-99 (5th Cir. 2000). Likewise, “‘[d]ocuments that a defendant attaches to a motion to

dismiss are considered part of the pleadings if they are referred to in the plaintiff’s complaint and

are central to [the plaintiff’s] claims.’” Id. (quoting Venture Assocs. Corp. v. Zenith Data Sys. Corp.,

987 F.2d 429, 431 (7th Cir. 1993)). In this regard, a document that is part of the record but not

referred to in a plaintiff’s complaint and not attached to a motion to dismiss may not be considered

by the court in ruling on a 12(b)(6) motion. Gines v. D.R. Horton, Inc., 699 F.3d 812, 820 & n.9 (5th

Cir. 2012) (citation omitted). Further, it is well-established and ‘“clearly proper in deciding a

12(b)(6) motion [that a court may] take judicial notice of matters of public record.”’ Funk v. Stryker


Memorandum Opinion and Order - Page 9
Corp., 631 F.3d 777, 783 (5th Cir. 2011) (quoting Norris v. Hearst Trust, 500 F.3d 454, 461 n.9 (5th

Cir. 2007) (citing Cinel v. Connick, 15 F.3d 1338, 1343 n.6 (5th Cir. 1994)).

       The ultimate question in a Rule 12(b)(6) motion is whether the complaint states a valid claim

when it is viewed in the light most favorable to the plaintiff. Great Plains Trust Co. v. Morgan

Stanley Dean Witter, 313 F.3d 305, 312 (5th Cir. 2002). While well-pleaded facts of a complaint

are to be accepted as true, legal conclusions are not “entitled to the assumption of truth.” Iqbal, 556

U.S. at 679 (citation omitted). Further, a court is not to strain to find inferences favorable to the

plaintiff and is not to accept conclusory allegations, unwarranted deductions, or legal conclusions.

R2 Invs. LDC v. Phillips, 401 F.3d 638, 642 (5th Cir. 2005) (citations omitted). The court does not

evaluate the plaintiff’s likelihood of success; instead, it only determines whether the plaintiff has

pleaded a legally cognizable claim. United States ex rel. Riley v. St. Luke’s Episcopal Hosp., 355

F.3d 370, 376 (5th Cir. 2004). Stated another way, when a court deals with a Rule 12(b)(6) motion,

its task is to test the sufficiency of the allegations contained in the pleadings to determine whether

they are adequate enough to state a claim upon which relief can be granted. Mann v. Adams Realty

Co., 556 F.2d 288, 293 (5th Cir. 1977); Doe v. Hillsboro Indep. Sch. Dist., 81 F.3d 1395, 1401 (5th

Cir. 1996), rev’d on other grounds, 113 F.3d 1412 (5th Cir. 1997) (en banc). Accordingly, denial

of a 12(b)(6) motion has no bearing on whether a plaintiff ultimately establishes the necessary proof

to prevail on a claim that withstands a 12(b)(6) challenge. Adams, 556 F.2d at 293.

III.   Analysis

       A.      Section 1983 Claims

       Title 42 U.S.C. § 1983 provides a civil remedy in federal court for violations, under color of

state law, of the rights, privileges and immunities secured by the Constitution and laws of the United


Memorandum Opinion and Order - Page 10
States. Findeisen v. N.E. Indep. Sch. Dist., 749 F.2d 234, 236-37 (5th Cir. 1984).4 It is well-

established that school administrators, such as principals, are state actors for purposes of section

1983. See, e.g., Leffall v. Dallas Indep. Sch. Dist., 28 F.3d 521 (5th Cir. 1994) (DISD school

principal treated as state actor by court). To state a claim under section 1983, a plaintiff must (1)

allege a violation of rights secured by the Constitution or laws of the United States, and (2)

demonstrate that the alleged deprivation was committed by a person or entity acting under color of

state law. See Atteberry v. Nocona Gen. Hosp., 430 F.3d 245, 252-53 (5th Cir. 2005) (citations

omitted); Doe v. Dallas Indep. Sch. Dist., 153 F.3d 211, 215 (5th Cir. 1998) (citations omitted).

        All Defendants move to dismiss Plaintiff’s section 1983 claims pursuant to Federal Rule of

Civil Procedure 12(b)(6). The IISD argues that Plaintiff fails to allege conduct actionable against

it pursuant to 42 U.S.C. § 1983. The City contends that “Plaintiff[] fail[s] to allege sufficient facts

to state facially plausible claims for municipal liability under Section 1983, both because Plaintiff[]

failed to allege facts sufficient to establish any underlying constitutional violation and because

Plaintiff[] fail[s] to establish a policy, custom, or practice of the City which caused any constitutional

violations.” See Def. City of Irving’s Mot. to Dismiss (Doc. 8). The City also argues that dismissal

is warranted because Plaintiff fails to allege facts sufficient to meet the elements of their causes of

action against the City. Principal Cummings asserts he is entitled to qualified immunity, as Plaintiff

has failed to plead facts showing that he violated any of A.M.’s clearly established constitutional



        4
         Section 1983 provides in part as follows:
                Every person who, under color of any statute, ordinance, regulation, custom, or
                usage, of any State or Territory or the District of Columbia, subjects, or causes to
                be subjected, any citizen of the United States or other person within the jurisdiction
                thereof to the deprivation of any rights, privileges, or immunities secured by the
                Constitution and laws, shall be liable to the party injured in an action at law.
        42 U.S.C. § 1983.

Memorandum Opinion and Order - Page 11
rights. The court will address the IISD’s and the City’s arguments in support of dismissal together,

as they are both governmental entities for purposes of the court’s section 1983 analysis.

               1.      Section 1983 Claims Against the IISD and the City

       A governmental entity, such as the IISD or the City, can be sued and subjected to monetary

damages and injunctive relief under 42 U.S.C. § 1983 only if its official policy or custom causes a

person to be deprived of a federally protected right. Board of the Cty. Comm’rs of Bryan Cty. v.

Brown, 520 U.S. 397, 403 (1997); Monell v. New York City Dep’t of Soc. Servs., 436 U.S. 658, 694

(1978). “Parties can sue a municipality that has violated their constitutional rights ‘under color of

any statute, ordinance, regulation, custom, or usage.’” Advanced Tech. Bldg. Solutions, L.L.C. v.

City of Jackson, 817 F.3d 163, 165 (5th Cir. 2016) (quoting 42 U.S.C. § 1983 and citing Monell, 436

U.S. at 690). As governmental entities, the IISD and the City cannot be liable for civil rights

violations under a theory of respondeat superior or vicarious liability. Monell, 436 U.S. at 691; see

also Barrow v. Greenville Indep. Sch. Dist., 480 F.3d 377, 380 (5th Cir. 2007) (“A school district

has no vicarious liability under § 1983.”); Baskin v. Parker, 602 F.2d 1205, 1208 (5th Cir. 1979)

(recognizing that “state vicarious liability doctrines are inapplicable in [section] 1983 suits.”).

       Official policy is defined as:

       1.      A policy statement, ordinance, regulation, or decision that is officially
               adopted and promulgated by the [school district or city] lawmaking officers
               or by an official to whom the lawmakers have delegated policy-making
               authority; or

       2.      A persistent, widespread practice of [school district or city] officials or
               employees which, although not authorized by officially adopted and
               promulgated policy, is so common and well-settled as to constitute a custom
               that fairly represents [school district or city] policy. Actual or constructive
               knowledge of such custom must be attributable to the governing body of the
               [school district or city] or to an official to whom that body had delegated
               policy-making authority.

Memorandum Opinion and Order - Page 12
Eugene v. Alief Indep. Sch. Dist., 65 F.3d 1299, 1304 (5th Cir. 1995); Webster v. City of Houston,

735 F.2d 838, 841 (5th Cir. 1984) (en banc) (per curiam); Bennett v. City of Slidell, 735 F.2d 861,

862 (5th Cir. 1984) (en banc) (per curiam). To hold a municipality liable under 42 U.S.C. § 1983

“requires proof of three elements: a policymaker; an official policy; and a violation of constitutional

rights whose moving force is the policy or custom.” Doe ex rel. Magee v. Covington Cty. Sch. Dist.,

675 F.3d 849, 866 (5th Cir. 2012) (en banc).5

         Regardless of the required proof needed to prevail ultimately on a given claim, to survive a

motion to dismiss, claims within the live pleading must contain sufficient factual allegations to

satisfy Federal Rule of Civil Procedure 8(a)(2), as interpreted in Iqbal, supra, and Twombly, supra.

When ruling on a Rule 12(b)(6) motion, a court must examine the factual allegations of the live

pleading to determine whether asserted claims survive the motion. See Groden v. City of Dallas, 826

F.3d 280, 282-83 (5th Cir. 2016). In Groden, the Fifth Circuit clarified that to state a claim upon

which relief can be granted, “a plaintiff is not required to single out the specific policymaker in his

complaint.” Id. at 282. To sufficiently state a claim upon which relief can be granted to survive a

motion to dismiss,

         [a plaintiff need] only to plead facts—facts which establish that [a] challenged policy
         was promulgated or ratified by the city’s policymaker. [The] complaint [does] not
         need to supply an answer to the legal question of the specific identity of the city’s
         policymaker under the relevant statutory scheme.




         5
           Liability must rest on official policy, meaning the governmental entity’s policy, and not the policy of an
individual official. Bennett, 728 F.2d at 769. The official complained of must possess
         final authority to establish [school district or city] policy with respect to the action ordered. . . .The
         official must also be responsible for establishing final government policy respecting such activity
         before the [school district or city] can be held liable. . . . [W]hether an official had final
         policymaking authority is a question of state law.
Pembaur v. City of Cincinnati, 475 U.S. 469, 481-82 (1986).

Memorandum Opinion and Order - Page 13
Id. at 285 (original emphasis). Groden involved a claim against the City of Dallas for a “crackdown

policy” of arresting vendors without probable cause “in retaliation for annoying-but-protected

speech” in Dealey Plaza. Id. at 286. Because the plaintiff alleged that the city's official spokesman

publically announced the new policy of cracking down on vendors in Dealey Plaza and gave media

interviews describing the new policy, the Fifth Circuit found that the plaintiff had sufficiently

pleaded promulgation or ratification by a policymaker even though he had not specifically identified

one. See id. at 286.

       Even though the operative pleading need not “supply an answer to the legal question of the

specific identity of the city’s policymaker under the relevant statutory scheme,” which Plaintiff can

determine in discovery, he needs to plead some “facts [that] establish that the challenged policy was

promulgated or ratified by the city’s policymaker,” whoever that is. Id. at 285.

       a.      Fourteenth Amendment Equal Protection Claim Against the IISD

        The Fourteenth Amendment provides in pertinent part:

               No State shall make or enforce any law which shall abridge the
               privileges or immunities of citizens of the United States; nor shall any
               State deprive any person of life, liberty, or property, without due
               process of law; nor deny to any person within its jurisdiction the
               equal protection of the laws.

U.S. Const. amend. XIV, § 1. The Equal Protection Clause of the Fourteenth Amendment requires

that similarly situated persons be treated alike. See City of Cleburne v. Cleburne Living Ctr., 473

U.S. 432, 439 (1985); Plyler v. Doe, 457 U.S. 202, 216 (1983). Plaintiff’s section 1983 claim based

on the Equal Protection Clause of the Fourteenth Amendment requires allegations of discriminatory

intent or purpose based on race or religion, or allegations from which the court can reasonably infer

a discriminatory intent or purpose based on race or religion. See Washington v. Davis, 426 U.S. 229,


Memorandum Opinion and Order - Page 14
242 (1976); Village of Arlington Heights v. Metropolitan Hous. Dev. Corp., 429 U.S. 252, 265

(1977).

          First, other than wholesale conclusory and speculative statements, Plaintiff does not allege

any facts from which this court can reasonably infer that any IISD employee intentionally

discriminated against A.M. based on his race or religion. Plaintiff does not allege that the IISD

treated A.M. differently because of his race or religion than other students involved in similar

disciplinary situations. Absent allegations of intentional discrimination, or allegations from which

the court can reasonably infer intentional discrimination, Plaintiff fails to allege an equal protection

violation against the IISD. See Coleman v. Houston Indep. Sch. Dist., 113 F.3d 528, 533 (5th Cir.

1997) (“[T]o state a claim of racial discrimination under the Equal Protection Clause and § 1983,

a plaintiff must demonstrate that the governmental official was motivated by intentional

discrimination on the basis of race.”) (citations omitted).

          Alternatively, Plaintiff fails to allege adequately facts to support liability against the IISD

under section 1983. Plaintiff does not allege that the IISD’s Board of Trustees maintained an

unconstitutional policy of discriminatory discipline based on race or religion. The sole allegation

in the Complaint is that a “pattern of discrimination” in the IISD, as shown by student discipline

statistics allegedly compiled by the TEA, “led directly” to the “over-discipline of [A.M.] for showing

off his home-made clock-in-a-pencil-box to his teachers.” Compl. ¶ 77. The law is clear that “the

description of a policy or custom and its relationship to the underlying constitutional violation cannot

be conclusory; it must contain specific facts.” Birabil v. Martinez, 2016 WL 4402259, at *5 (N.D.

Tex. July 11, 2016) (quoting Spiller v. City of Tex. City, Police Dep’t, 130 F.3d 162, 167 (5th Cir.

1997)) (report and recommendation adopted, 2016 WL 4411412 (N.D. Tex. Aug. 18, 2016)). In


Memorandum Opinion and Order - Page 15
Spiller, the Fifth Circuit found the allegation that several policies “led to” unspecified

“unconstitutional arrests and confinements,” and that a departmental policy of “engag[ing] in

conduct toward African American citizens without regard to probable cause to arrest” were too

vague and conclusory to support alleged municipal liability under Monell. 130 F.3d at 167.

Plaintiff’s allegations fail for the same reason.

         Further, allegations regarding findings of disparate discipline in TEA reports and an alleged

anti-Muslim bias in the community are not “facts [that] establish that the challenged policy was

promulgated or ratified by the [school district’s] policymaker,” in this case the Board of Trustees.

See Groden, 826 F.3d at 285.6

         Absent allegations from which the court can reasonably infer that A.M. was subject to

unequal disciplinary treatment based on his religion or race, and absent adequate allegations to state

a plausible section 1983 claim against the IISD based on a policy or custom that led to a

constitutional deprivation, the court determines that Plaintiff’s section 1983 equal protection claim

against the IISD should be dismissed for failure to state a claim.

                           b.        Fourth and Fifth Amendment Claims Against the City

                                     i.       Fourth Amendment

         Plaintiff alleges that City of Irving police officers violated A.M.’s Fourth Amendment rights

when they allegedly arrested him without probable cause. Compl. ¶ 85. Plaintiff does not sue any

of the police officers allegedly involved but only the City. The City argues that Plaintiff’s claim of


         6
          Under Texas law, the final policymaking authority in an independent school district rests with the district’s
trustees. Jett v. Dallas Indep. Sch. Dist., 7 F.3d 1241, 1245 (5th Cir. 1993). Texas Education Code § 11.051(a)(1)
provides: “An independent school district is governed by a board of trustees who, as a body corporate, shall[] oversee
the management of the district[.]” The Texas Education Code further provides, “[T]he trustees as a body corporate have
the exclusive power and duty to govern and oversee the management of the public schools of the district,” and that “[T]he
trustees may adopt rules and bylaws necessary to carry out the[ir] powers and duties[.]” Id. § 11.151(b) and (d).

Memorandum Opinion and Order - Page 16
a Fourth Amendment violation should be dismissed because “Plaintiff ha[s] not pled sufficient facts

to establish either a constitutional violation by the City or a policy, custom, or practice of the City

that was the moving force of a constitutional violation.” City Mot. to Dismiss 15 (Doc. 8) (citing

Monell, 436 U.S. at 694). The court agrees that, even assuming, arguendo, that the City of Irving

police officers violated A.M.’s Fourth Amendment right to be from arrest without probable cause,

Plaintiff fails to allege a policy, custom, or practice of the City that was the moving force of an

alleged constitutional violation. As already stated, the City cannot be liable for civil rights violations

under a theory of respondeat superior or vicarious liability. Monell, 436 U.S. at 691.

         First, Plaintiff fails to identify any official policy that allegedly caused the underlying

constitutional violation. In the absence of an officially promulgated policy, Plaintiff must allege a

constitutional deprivation that was more than an isolated incident but was caused by a practice that

was sufficiently widespread to constitute a custom having the force of law. Piotrowski v. City of

Houston, 237 F.3d 567, 579 (5th Cir. 2001). Plaintiff has not made these allegations. Accordingly,

the court is left with an isolated, allegedly unconstitutional incident, which is generally insufficient

to establish an official policy or custom for section 1983 purposes. See Bolton v. City of Dallas,

Tex., 541 F.3d 545, 548 (5th Cir. 2008); Petrie v. City of Grapevine, 904 F. Supp. 2d 569, 586 (N.D.

Tex. 2012) (Lynn, J.), aff’d sub nom. Petrie v. Salame, 546 F. App’x 445 (5th Cir. 2013).7

         Rather than pleading a custom or policy, Plaintiff alleges that the City participated in the

CAP program that he asserts led to A.M.’s unconstitutional arrest. As the City points out: “Plaintiff

offer[s] no well-pleaded allegation that the City was participating in CAP at the time of A.M.’s arrest


         7
           “[A] single unconstitutional action by a municipal actor nay give rise to municipal liability if that actor is a
final policymaker.” Bolton v. City of Dallas, Tex., 541 F.3d 545, 548 (5th Cir. 2008) (citation omitted). In this case,
however, Principal Cummings is not a final policymaker under state law. See supra note 6.

Memorandum Opinion and Order - Page 17
or that the arrest of a U.S. citizen, [A.M.], was connected in any way with a program designed to

target criminal aliens.” City’s Reply 6 (Doc. 18). Quite simply, the court is unable to connect

participation by the City in CAP, a program the Complaint alleges was supervised by DHS and

designed to target criminal aliens, with the police officers’ arrest of A.M., a United States citizen,

or the contention that the arrest was made without probable cause.8

         As an alternative basis for a section 1983 claim against the City, Plaintiff makes the

conclusory allegation that the Irving Police Department failed to properly train and supervise its

officers with respect to determining probable cause for arrest. See Compl. ¶¶ 88-91. Plaintiff,

however, fails to allege how the City’s training policy on probable cause was inadequate. Rather,

Plaintiff relies on the conclusory allegation that “Irving police officers engaged in a pattern of

unconstitutional detentions/arrests at least as far back as 2006.” Id. ¶ 88. Plaintiff also makes the

conclusory allegation that, at some unknown time in the past, the City’s police chief allegedly

acknowledged a pattern of unconstitutional detentions and arrests. Id. These conclusory allegations

are inadequate to support a failure to train claim. There are no allegations concerning what type of

training was being provided to the Irving police officers at or near the time A.M. was arrested, or any

allegations as to how the training was defective. Absent such allegations, the Complaint fails to state

a section 1983 claim for failure to train. See Zarnow v. City of Wichita Falls, 614 F.3d 161, 170 (5th

Cir. 2010) (For liability to attach based on an inadequate training program, a plaintiff must allege

with specificity how a particular training program of a city is defective.) (citation omitted).9


         8
          The court similarly fails to understand the connection between reports from Berkeley Law School regarding
race and ethnicity, and any allegation that a policy or custom of the City was the moving force behind A.M.’s arrest.
         9
            Although the Complaint alleges a failure-to-supervise claim against the City, Plaintiff fails to address the City’s
motion to dismiss this claim in his response brief. As such, the court concludes that Plaintiff has conceded that he has
failed to state a claim for failure to supervise against the City or, alternatively, by not addressing this claim, Plaintiff has

Memorandum Opinion and Order - Page 18
        As Plaintiff has failed to allege any other custom, policy, or practice that was the moving

force behind A.M.’s allegedly unconstitutional arrest in violation of the Fourth Amendment, or to

adequately allege the elements of a failure to train claim, the court will dismiss Plaintiff’s Fourth

Amendment claim against the City.

                                   ii.      Fifth Amendment

        Plaintiff contends that City of Irving police officers violated A.M.’s Fifth Amendment rights

when they allegedly refused his request to speak to his parents and allegedly failed to give him

Miranda warnings. Compl. ¶¶ 90-91. The City argues that Plaintiff’s claim of a Fifth Amendment

violation should be dismissed because Plaintiff has failed to allege a constitutional violation.

        The Fifth Amendment to the United States Constitution provides, “No person . . . shall be

compelled in any criminal case to be a witness against himself . . . .” U.S. Const. amend. V. A

plaintiff cannot maintain a section 1983 case for damages for a violation of the Fifth Amendment

when the information allegedly improperly obtained was never actually used against him in a

criminal case. See Chavez v. Martinez, 538 U.S. 760, 765-73 (2003). As the Supreme Court stated

in Chavez, “[M]ere coercion does not violate the Self-Incrimination Clause absent use of the

compelled statements in a criminal case against a witness.” Id. at 769. “The Fifth Amendment

privilege against self-incrimination is a fundamental trial right [that] can be violated only at trial,

even though pre-trial conduct by law enforcement officials may ultimately impair that right.”

Murray v. Earle, 405 F.3d 278, 285 (5th Cir. 2008) (original emphasis); see also Moore v. City of

Grand Prairie, 2013 WL 3146780, at *7 (N.D. Tex. June 20, 2013) (McBryde, J.) (“As the Court

in Chavez made clear, an individual who is never prosecuted for a crime nor compelled to be a


abandoned it. Accordingly, this claim will be dismissed.

Memorandum Opinion and Order - Page 19
witness against herself in a criminal case cannot allege a violation of the Fifth Amendment’s

protection against self incrimination.”). In response, Plaintiff urges the court to disregard the law

of the Fifth Circuit and to rely instead on “more recent decisions from other circuits [finding] that

the use of unwarned statements at trial is not necessary for a plaintiff to state a claim for violation

of his or her rights under the Fifth Amendment.” Pl.’s Resp. 18 (citing cases) (Doc. 15).

       The court is bound by the law of the Fifth Circuit and declines Plaintiff’s invitation to ignore

binding precedent and look to case decisions from other circuit courts. Here, Plaintiff has pleaded

that all charges against A.M. arising from the arrest were dropped. See Compl. ¶¶ 57, 68. Plaintiff

does not allege that any information allegedly improperly obtained from A.M. was ever used against

him in a criminal trial or in pretrial proceedings. For this reason, the court determines Plaintiff has

failed to state a claim under the Fifth Amendment against the City.

       In any event, although not addressed by any of the parties, the Fifth Circuit has held, as a

matter of law, that: “The reading of Miranda warnings is a procedural safeguard rather than a right

arising out of the [F]ifth [A]mendment itself . . . . Thus, the remedy for a Miranda violation is the

exclusion from evidence of any compelled self[-]incrimination, not a section 1983 action[.]”

Hernandez v. Metro Transit Auth., 226 F.3d 643 (Table), 2000 WL 1029143, at *1 (5th Cir. July 12,

2000) (quoting with approval Warren v. City of Lincoln, Neb., 864 F.2d 1436, 1442 (8th Cir. 1989));

see also Rollerson v. City of Freeport, Tex., 2013 WL 2189892, at *14 (S.D. Tex. May 16, 2013),

aff’d, 555 F. App’x 404 (5th Cir. 2014) (collecting cases holding that the remedy for a Miranda

violation is exclusion from evidence of any compelled self-incrimination, not a section 1983 action).




Memorandum Opinion and Order - Page 20
         Finally, the Complaint fails to identify any policy, custom, or practice of the City that was

allegedly the moving force behind any violation of A.M.’s Fifth Amendment rights.10 As such,

dismissal is warranted on this basis as well.

                   2.       Section 1983 Claim Against Principal Cummings

         Defendant Principal Cummings contends that the court should dismiss Plaintiff’s section

1983 claim against him because Plaintiff has failed to allege sufficient facts to defeat his qualified

immunity defense. The court agrees.

                            a.        Qualified Immunity

         Government officials who perform discretionary functions are entitled to the defense of

qualified immunity, which shields them from suit as well as liability for civil damages, if their

conduct does not violate “clearly established statutory or constitutional rights of which a reasonable

person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). A defendant official

must affirmatively plead the defense of qualified immunity. Gomez v. Toledo, 446 U.S. 635, 640

(1980). Defendant Principal Cummings has asserted this defense in his Motion to Dismiss.

         In deciding a dispositive motion that raises the defense of qualified immunity, the Supreme

Court initially set forth a mandatory two-part inquiry for determining whether a government official

was entitled to qualified immunity. Saucier v. Katz, 533 U.S. 194, 201 (2001). Under Saucier, a



         10
            The Complaint does not allege a failure-to-train claim as a theory of liability with respect to Plaintiff’s Fifth
Amendment claims. The court rejects Plaintiff’s attempt to introduce this theory for the first time in his response to the
City’s Motion to Dismiss. “Review of a Rule 12(b)(6) dismissal is, by its very nature, limited to the allegations and
theories set forth in the complaint that the district court had before it when granting the motion to dismiss.” Law v.
Ocwen Loan Servicing, L.L.C., 587 F. App’x 790, 793 (5th Cir. 2014) (unpublished); Powell v. Dallas Morning
News LP, 610 F. Supp. 2d 569, 577 (N.D. Tex. 2009) (In ruling on a motion to dismiss, statements and allegations in
a response brief not contained in the complaint are not properly before the court.); see also Cutrera v. Bd. of Supervisors
of La. State Univ., 429 F.3d 108, 113 (5th Cir. 2005) (“A claim which is not raised in the complaint but, rather, is raised
only in response to a motion for summary judgment is not properly before the court.”) (citation omitted).

Memorandum Opinion and Order - Page 21
court must determine first whether the facts alleged or shown are sufficient to make out a violation

of a constitutional or federal statutory right. If the record sets forth or establishes no violation, no

further inquiry is necessary. On the other hand, if the plaintiff sufficiently pleads or establishes that

a violation could be made out, the court must determine whether the right at issue was clearly

established at the time of the government official’s alleged misconduct. Id. The Court relaxed this

mandatory sequence in Pearson v. Callahan, 555 U.S. 223 (2009), and stated, “[W]hile the sequence

set forth [in Saucier] is often appropriate, it should no longer be regarded as mandatory,” and judges

“should be permitted to exercise their sound discretion in deciding which of the two prongs of the

qualified immunity analysis should be addressed first in light of the circumstances in the particular

case at hand.” Id. at 236. The second prong of the test “is better understood as two separate

inquiries: whether the allegedly violated constitutional right[] [was] clearly established at the time

of the incident; and if so, whether the conduct of the defendant[] [official] was objectively

unreasonable in light of then clearly established law.” Tarver v. City of Edna, 410 F.3d 745, 750

(5th Cir. 2005) (internal quotation marks and citations omitted); see also Evans v. Ball, 168 F.3d

856, 860 (5th Cir. 1999); Hare v. City of Corinth, 135 F.3d 320, 326 (5th Cir. 1998); Eugene v. Alief

Indep. Sch. Dist., 65 F.3d 1299, 1305 (5th Cir. 1995).

        Ordinarily, one who pleads an affirmative defense must establish his entitlement to such

defense. In the context of qualified immunity, however, this burden varies from the norm. In this

circuit, the rule is as follows:

        Where . . . [a] defendant pleads qualified immunity and shows he is a governmental
        official whose position involves the exercise of discretion, the plaintiff then has the
        burden to rebut this defense by establishing that the official’s allegedly wrongful
        conduct violated clearly established law. We do not require that an official
        demonstrate that he did not violate clearly established federal rights; our precedent
        places that burden upon plaintiffs.

Memorandum Opinion and Order - Page 22
Pierce v. Smith, 117 F.3d 866, 871-72 (5th Cir. 1997) (internal quotations and citations omitted); see

also Brown v. Callahan, 623 F.3d 249, 253 (5th Cir. 2010).

       A right is “clearly established” only when its contours are sufficiently clear that a reasonable

public official would have realized or understood that his conduct violated the right in issue, not

merely that the conduct was otherwise improper. See Anderson v. Creighton, 483 U.S. 635, 640

(1987); Foster v. City of Lake Jackson, 28 F.3d 425, 429 (5th Cir. 1994). Thus, the right must not

only be clearly established in an abstract sense but in a more particularized sense so that it is

apparent to the official that his actions [what he is doing] are unlawful in light of pre-existing law.

Anderson v. Creighton, 483 U.S. at 640; Stefanoff v. Hays County, 154 F.3d 523, 525 (5th Cir.

1998); and Pierce v. Smith, 117 F.3d at 871.

       In Anderson, 483 U.S. at 641, the Court refined the qualified immunity standard and held that

the relevant question is whether a reasonable officer or public official could have believed that his

conduct was lawful in light of clearly established law and the information possessed by him. If

public officials or officers of “reasonable competence could disagree [on whether the conduct is

legal], immunity should be recognized.” Malley v. Briggs, 475 U.S. 335, 341 (1986); Gibson v.

Rich, 44 F.3d 274, 277 (5th Cir. 1995) (citing Babb v. Dorman, 33 F.3d 472, 477 (5th Cir. 1994)).

Qualified immunity is designed to protect from civil liability “all but the plainly incompetent or

those who knowingly violate the law.” Malley v. Briggs, 475 U.S. at 341. Conversely, an official’s

conduct is not protected by qualified immunity if, in light of clearly established pre-existing law, it

was apparent the conduct, when undertaken, would be a violation of the right at issue. Foster, 28

F.3d at 429. To preclude qualified immunity, it is not necessary for a plaintiff to establish that “the

[specific] action in question has previously been held unlawful.” Anderson, 483 U.S. at 640. For


Memorandum Opinion and Order - Page 23
an official, however, to surrender qualified immunity, “pre-existing law must dictate, that is, truly

compel (not just suggest or allow or raise a question about), the conclusion for every like-situated,

reasonable government agent that what the defendant is doing violates federal law in the

circumstances.” Pierce v. Smith, 117 F.3d at 882 (emphasis in original and citation omitted); and

Stefanoff v. Hays County, 154 F.3d at 525. Stated differently, while the law does not require a case

directly on point, “existing precedent must have placed the statutory or constitutional question

beyond debate.” Ashcroft v. Al-Kidd, 563 U.S. 731, 741 (2011) (citations omitted).

        In analyzing qualified immunity claims, the Supreme Court has “repeatedly told courts …

to not define clearly established law at a high level of generality.” Mullenix v. Luna, 136 S. Ct. 305,

308 (2015) (citation omitted). Pursuant to Mullenix, courts must consider “whether the violative

nature of particular conduct is clearly established” and must undertake this inquiry “in light of the

specific context of the case, not as a broad general proposition.” Id. (citations and internal

quotations marks omitted).

        To defeat or overcome an official’s qualified immunity defense, a plaintiff’s complaint must

allege specific facts that, if proved, would show that the official’s conduct violated clearly

established constitutional or statutory rights. In cases involving claims of qualified immunity, often

it is appropriate to require a plaintiff to file a detailed reply to address the plea of qualified immunity.

Schultea v. Wood, 47 F.3d 1427, 1433 (5th Cir. 1995) (en banc). “[T]he reply must be tailored to

the assertion of qualified immunity and fairly engage its allegations. A defendant has an incentive

to plead his defense with some particularity because it has the practical effect of requiring

particularity in the reply.” Id. A plaintiff generally must be given the opportunity to reply with




Memorandum Opinion and Order - Page 24
greater specificity in such cases before the court rules on a defendant’s dispositive motion. Todd v.

Hawk, 72 F.3d 443, 446 (5th Cir. 1996).

       A reply, however, is only required when the claims in the complaint are not supported “with

sufficient precision and factual specificity to raise a genuine issue as to the illegality of [a]

defendant’s conduct at the time of the alleged acts.” Schultea, 47 F.3d at 1434. If “the pleadings

on their face show an unreasonable violation of a clearly established constitutional right,” the

assertion of a qualified immunity defense is insufficient to sustain a Rule 12(b)(6) motion to dismiss.

Shipp v. McMahon, 234 F.3d 907, 912 (5th Cir. 2000), overruled in part on other grounds by

McClendon v. City of Columbia, 305 F.3d 314 (5th Cir. 2002) (en banc).

                       b.     Discussion

       The threshold question that the court must decide is whether, viewed in the light most

favorable to Plaintiff, the Complaint sufficiently alleges that Principal Cummings violated A.M.’s

constitutional right to equal protection of the laws under the Fourteenth Amendment. If the

allegations fail to state a claim for an underlying constitutional violation, Principal Cummings is

entitled to qualified immunity without the necessity that the court reach the other aspects of the

qualified immunity inquiry.

       Plaintiff seeks to allege a Fourteenth Amendment claim under the equal protection clause on

the basis that Principal Cummings allegedly “violat[ed] [A.M.’s] clearly established constitutional

right to be free from discriminatory discipline.” Compl. ¶ 81. According to the Complaint, “[a]t the

time [A.M.] was detained by Principal Cummings and the Irving Police Department, Principal

Cummings was aware of the TEA’s reports reflecting the disparity in discipline of African American

students that was ongoing in the IISD.” Id. ¶ 82. The Complaint further alleges that “[a]t the time


Memorandum Opinion and Order - Page 25
that Cummings engaged in such violations of law, he was aware of all of the facts that would inform

a reasonable principal that there was no conduct meriting discipline—much less police intervention.

He was aware the clock was not a bomb.” Id. ¶ 83. The Complaint alleges that Principal Cummings

“knowingly violated the Fourteenth Amendment and the rights of [A.M.]” when he interrogated

A.M., threatened him with expulsion if he did not sign a statement, and suspended him for three

days. Id. ¶ 84.

         “[T]o state a claim of racial discrimination under the Equal Protection Clause and section

1983, the plaintiff ‘must allege that [(1) he or she] received treatment different from that received

by similarly situated individuals and that [(2)] the unequal treatment stemmed from a discriminatory

intent.’” Fennell v. Marion Indep. Sch. Dist., 804 F.3d 398, 412 (5th Cir. 2015) (quoting Priester

v. Lowndes Cty., 354 F.3d 414, 424 (5th Cir.2004) (in turn quoting Taylor v. Johnson, 257 F.3d 470,

473 (5th Cir. 2001)).11 Discriminatory intent means “that the decision maker singled out a particular

group for disparate treatment and selected his course of action at least in part for the purpose of

causing its adverse effect on an identifiable group.” Fennell, 804 F.3d at 412 (quoting Taylor, 257

F.3d at 473). “Allegations [of discriminatory intent] that are merely conclusory, without reference

to specific facts, will not suffice.” Id. (quoting Priester, 354 F.3d at 420).

         Viewing all well-pleaded allegations as true and drawing all reasonable inferences in favor

of Plaintiff, the court determines that the Complaint fails to plead facts from which the court can

reasonably infer that Principal Cummings’s complained-of conduct was motivated by unlawful racial

or religious animus. To the extent the Complaint alleges that Principal Cummings intentionally



         11
            The same analysis applies with regard to Plaintiff’s equal protection claim based on religion, as religion, like
race, is a “suspect class.” See Sonnier v. Quarterman, 476 F.3d 349, 368 n.17 (5th Cir. 2007).

Memorandum Opinion and Order - Page 26
discriminated against A.M. based on his race or religion, the allegations are wholly conclusory and

fail to “raise a right to relief above the speculative level . . . [even] on the assumption that all the

allegations in the complaint are true (even if doubtful in fact).” See Twombly, 550 U.S. at 555; see

also Compl. ¶ 84. The Complaint contains no factual allegation that supports a showing that

Principal Cummings removed A.M. from the classroom, ordered him to write a statement, or decided

to temporarily suspend him from McArthur, based on his religion or race. Plaintiff’s reliance on

nothing more than conclusory, speculative, and sweeping allegations of constitutional violations and

intent is insufficient to overcome Principal Cummings’s qualified immunity defense. See Iqbal, 556

U.S. at 676 (holding that a section 1983 plaintiff “must plead sufficient factual material” to show that

the public servant took action “for the purpose of discrimination on account” of the plaintiff’s

protected status); Fennell, 804 F.3d at 412 (“[A]llegations [of discriminatory intent] that are merely

conclusory, without reference to specific facts, will not suffice.”) (citation omitted). In this case, as

in Iqbal, the Complaint “does not contain any factual allegation sufficient to plausibly suggest

[defendant’s] discriminatory state of mind.” Iqbal, 556 U.S. at 683.

        Further, the Complaint fails to state an equal protection violation against Principal Cummings

because it does not allege that he treated A.M. differently than other similarly situated students, and

that the unequal treatment was based on religion or race. See, e.g., Shah v. Univ. of Texas Sw. Med.

Sch., 54 F. Supp. 3d 681, 703 (N.D. Tex. 2014) (Fitzwater, J.) (dismissing equal protection claim

when student did not identify another student who was treated more favorably); Turner v. Houston

Indep. Sch. Dist., 2013 WL 3353956, at *3 (S.D. Tex. July 13, 2013) (dismissing equal protection

claim when plaintiff failed to identify any nondisabled student that was treated differently); Broaders

v. Polk Cty. Sch. Bd., 2011 WL 2610185, at *5 (M.D. Fla. Apr. 19, 2011) (dismissing equal


Memorandum Opinion and Order - Page 27
protection claim when student “failed to allege sufficient facts showing that Defendant’s policies

treat minority disabled students differently from other students”).

         In addition, the court rejects Plaintiff’s attempt to base his equal protection claim on Principal

Cummings’s alleged violation of Chapter 52 of the Texas Family Code (titled “Proceedings Before

and Including Referral to Court”) based on his alleged failure to notify promptly A.M.’s parents that

he was suspended. These allegations do not show disparate treatment or otherwise negate Principal

Cummings’s qualified immunity. “[A] violation of a state statute alone is not cognizable under §

1983 because § 1983 is only a remedy for violations of federal statutory and constitutional rights.”

Woodard v. Andrus, 419 F.3d 348, 353 (5th Cir. 2005). Further, Chapter 52 of the Family Code,

upon which Plaintiff relies, applies to officials who take children in police custody. See Tex. Fam.

Code § 52.02(b).12 As Principal Cummings correctly notes, there is no allegation that he took A.M.

into custody. The Complaint alleges that A.M. was removed from school by the City of Irving police

and not by Principal Cummings. See Compl. ¶ 60. Finally, even were the Texas Family Code

applicable to the alleged actions of Principal Cummings, the Complaint contains no allegations that

any violation of the Family Code was motivated by religious or racial animus or that any delay in

notifying A.M.’s parents of the suspension was based on impermissible discrimination based on

religion or race.

         Finally, allegations that the IISD has a pattern of disciplining African-American students

more harshly than other students, that the IISD generally had an anti-Muslim bias, that Principal

Cummings was aware of TEA reports reflecting such disparity, or that other school officials


         12
            Section 52.02(b) provides, in relevant part: “A person taking a child into custody shall promptly give notice
of the person’s action and a statement of the reason for taking the child into custody, to: (1) the child’s parent, guardian,
or custodian.” Tex. Fam. Code § 52.02(b).

Memorandum Opinion and Order - Page 28
displayed racial animus, are insufficient as a matter of law to impute liability to Principal Cummings.

To overcome Principal Cummings’s qualified immunity defense, Plaintiff must, at a minimum,

allege facts from which the court may infer that Principal Cummings was himself personally

motivated by discriminatory animus. See Iqbal, 556 U.S. at 676 (“[B]ecause vicarious liability is

inapplicable to . . . § 1983 suits, a plaintiff must plead that each Government-official defendant,

through the official’s own individual actions, has violated the Constitution.”) (emphasis added).

       Even assuming that Plaintiff had met the threshold requirement of alleging an underlying

constitutional violation, the court concludes that Principal Cummings is, nevertheless, entitled to

qualified immunity because Plaintiff has failed to allege facts from which the court can conclude that

Principal Cummings acted in an objectively unreasonable manner.

       Principals are responsible for the safety of students and others on campus and, as part of that

responsibility, often have to make decisions quickly and with little information. The court

acknowledges that A.M. repeatedly stated that the device in question was an alarm clock and not a

bomb; however, in light of well-documented incidents in this country of students bringing weapons

and other prohibited devices to school, one in Principal Cummings’s position cannot rely on or

accept such assertions without at least conducting some level of investigation or sufficient inquiry

to ensure that the device does not pose a risk to the safety of students and others on campus.

       In this case, A.M. was ultimately arrested for the offense of a “hoax bomb.” The statutory

definition of a “hoax bomb” is a device that reasonably appears to be an explosive or incendiary

device, or that, by its design, causes alarm or reaction of any type by an official of a public safety

agency. Tex. Penal Code § 46.01(13). The Complaint alleges that A.M. brought a homemade

contraption to school in an “8 ½" by 5" Vaultz pencil box” that included “a 7 segment display, a pcb


Memorandum Opinion and Order - Page 29
board, a 9 volt battery, some wires (from a media player that wasn’t working), a 120-240 volt

transformer, [and] a button board.” Compl. ¶ 53. The Complaint further alleges A.M. showed the

device to one of his teachers who advised him to keep it in his backpack. Id. ¶ 54. According to the

Complaint, later that same day, notwithstanding the teacher’s instruction, A.M. showed the device

to another student during a class. Id. The Complaint alleges that the device made a beeping sound

and caught the attention of his English teacher, Ms. West. Id. According to the Complaint, A.M.

showed Ms. West the device after class, and she asked: “[I]s that a bomb?” Id. A.M. told her it was

an alarm clock. Id. Ms. West confiscated the device from A.M., and it was held in the

administrative offices of the school for several hours. Id.

       This is not a situation in which a person standing in Principal Cummings’s shoes can take

unnecessary risks. It would have been fatuous or nonsensical for Principal Cummings to do nothing

and wait for something to occur before acting. Further, Plaintiff implicitly assumes that Principal

Cummings had some level of expertise and experience in dealing with bombs or explosives and

thereby should have known the device was not a bomb but merely an alarm clock. By Plaintiff’s

own admission, his son disobeyed a teacher’s instructions to keep the device in his backpack.

Contrary to this admonition, A.M. showed the device to another student, and ultimately the device

caught the attention of Ms. West.

       Public officials are entitled to qualified immunity unless it is shown that their actions are

objectively unreasonable. One may consider a three-day suspension imposed on A.M. to be harsh

and unreasonable, but the court is not prepared to conclude that Principal Cummings’s actions were

objectively unreasonable based on the allegations of the Complaint. A principal’s fate is not so

hapless that, on the one hand, by not taking action he is faced with the gruesome prospect of death


Memorandum Opinion and Order - Page 30
or serious injury of persons had the device actually been a bomb and exploded; and, on the other

hand, he is faced with a federal lawsuit for denial of a student’s constitutional rights because the

device turned out not to be a bomb. Woe unto the principal who fails to act on a potential threat that

later becomes a reality! To hold Principal Cummings, or any other administrator, to this standard

places him between the dreaded Scylla and Charybdis.13

         As earlier stated, qualified immunity is designed to protect from civil liability “all but the

plainly incompetent or those who knowingly violate the law.” Malley, 475 U.S. at 341. Principal

Cummings’s alleged conduct falls into neither category. The court simply cannot go so far as to say,

based on the allegations presented, that Principal Cummings was “plainly incompetent” or

“knowingly violate[d] the law” or A.M.’s constitutional rights. Moreover, the Complaint contains

no allegations from which the court can reasonably infer that Principal Cummings would have acted

differently if the student bringing the device to school and showing it to others in violation of a

teacher’s orders had been non-African American or non-Islamic.




         13
              As this court previously explained:

                  According to Greek mythology, Scylla was originally a beautiful nymph who was later turned
         into a monster by Circe, an enchantress. Glaucus, a sea god, fell in love with Scylla; however, she
         wanted no part of him. When Scylla rebuffed Glaucus’s efforts to spark her, he enlisted the aid of
         Circe to persuade Scylla that she should love him. Circe, however, had ideas of her own and tried to
         convince Glaucus to love her instead of Scylla. When Glaucus spurned Circe’s amorous efforts, she
         became enraged and turned Scylla into a monster to spite Glaucus.

                   After being turned into a monster, Scylla lived in a cave overlooking the Strait of Messina,
         which separates the island of Sicily from Italy. Immediately opposite the cave where Scylla lived was
         the whirlpool Charybdis. When mariners navigated the Strait of Messina, they were faced with the
         . . . repugnant alternatives of either (1) being devoured by Scylla, or (2) being sucked into and
         drowned by the deadly waters of the whirlpool Charybdis.

Tittle v. Raines, 231 F. Supp. 2d 537, 554 n.12 (N.D. Tex. 2002), aff’d, 69 F. App’x 658 (5th Cir. 2003).

Memorandum Opinion and Order - Page 31
        For these reasons, the allegations in the Complaint regarding Principal Cummings are

inadequate to overcome his defense of qualified immunity. Accordingly, the court will grant

Principal Cummings’s Motion to Dismiss based on qualified immunity.

        B.              Title VI Claims

        Plaintiff seeks compensatory damages against the IISD under Title VI alleging that “ongoing

discrimination” in the IISD on the basis of race and religion caused the purportedly unlawful

discipline of A.M. on September 14, 2015. See Compl. ¶ 106. Defendant IISD moves to dismiss

Plaintiff’s Title VI claims, arguing that (1) religious discrimination claims are not actionable under

Title VI, (2) it cannot be held vicariously liable with respect to race discrimination claims for alleged

discrimination by administrators, and (3) Plaintiff fails to allege a plausible claim that the IISD had

actual knowledge of discrimination against A.M. and responded with deliberate indifference. For

the following reasons, the court concludes that Plaintiff fails to state a claim under Title VI against

Defendant IISD.

        Section 601 of Title VI provides in relevant part: “No person in the United States shall, on

the grounds of race, color, or national origin, be excluded from participation in, be denied the

benefits of, or be subjected to discrimination under any program or activity receiving Federal

financial assistance.” 42 U.S.C. § 2000d. Private individuals may sue to enforce section 601 of

Title VI and obtain both monetary and injunctive relief. Alexander v. Sandoval, 532 U.S. 275, 279

(2001). To state a claim for damages under Title VI, a private litigant must, among other things,

“plead facts in support of intentional discrimination.” Price ex rel. Price v. La. Dep’t of Educ., 329

F. App’x 559, 561 (5th Cir. 2009) (per curiam) (citing Sandoval, 532 U.S. at 281); see also

Sandoval, 532 U.S. at 280 (“‘Title VI itself directly reach[es] only instances of intentional


Memorandum Opinion and Order - Page 32
discrimination.’”) (quoting Alexander v. Choate, 469 U.S. 287, 293 (1985)). A complaint that does

not set forth “specific allegations of acts that were taken with discriminatory intent” does not state

a claim for Title VI violations. Muthukumar v. Univ. of Tex. at Dallas, 2010 WL 5287530, at *5

(N.D. Tex. Dec. 27, 2010) (Boyle, J.).

         Under Title VI, like Title IX, in cases that do not involve an official policy, damages are not

available unless an “appropriate person”—an official authorized to institute corrective

measures—had “actual knowledge” of the discrimination and responded with “deliberate

indifference.” Gesber v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 290 (1998).14 In Gesber, the

Court held that a Texas school district could not be held liable for damages based on a teacher’s

sexual molestation of a child because no one in authority knew of the molestation, and expressly

rejected Title VI liability based on negligence, constructive notice, and respondeat superior. Id. at

285-88; cf. 42 U.S.C. § 2000d-1 (providing that no action shall be taken against a federal department

or agency for violating Title VI until the department or agency concerned has advised the

“appropriate person” of the failure to comply with the requirement and has determined that

compliance cannot be secured by voluntary means).

                            a. Religious Discrimination

         Title VI, on its face, does not prohibit religious discrimination. See 42 U.S.C. § 2000(d)

(prohibiting discrimination “on the grounds of race, color, or national origin”). Further, lower courts

may not recognize causes of action when “a statute has not created them.” Sandoval, 502 U.S. at


         14
            The Supreme Court is Gesber noted that Title IX was modeled after Title VI, which is “parallel to Title IX
except that it prohibits race discrimination, not sex discrimination, and applies in all programs receiving federal funds,
not only in educational programming.” Gesber, 524 U.S. at 286. “The two statutes operate in the same manner
conditioning an offer of federal funding on a promise by the recipient not to discriminate, in what amounts essentially
to a contract between the Government and the recipient of funds.” Id. Because Title VI and Title IX “operate in the
same manner,” see id., case law interpretingTitle IX is equally applicable to cases involving Title VI.

Memorandum Opinion and Order - Page 33
291. Accordingly, because Title VI does not proscribe discrimination based on religion, the court

will dismiss Plaintiff’s Title VI claim insofar as it is based on alleged religious discrimination.15

                            b. Race Discrimination

         In support of his Title VI claim, Plaintiff alleges that Principal Cummings discriminated

against him based on race in connection with removing him from class, ordering him to write a

statement, and imposing a three-day suspension. Plaintiff, however, fails to plead any facts

suggesting that Principal Cummings treated him differently than other similarly situated students

based on his race. Instead, Plaintiff advances only his subjective belief that Principal Cummings’s

actions were motivated by A.M.’s race. These bare allegations do not meet the Iqbal standard. See

Iqbal, 556 U.S. at 678 (The plausibility standard “asks for more than a sheer possibility that a

defendant has acted unlawfully.”). With respect to Ms. West, Plaintiff similarly fails to allege facts

that she took any actions against A.M. based on race or treated A.M. differently than students in

similar disciplinary situations based on his race.

         Even had Plaintiff adequately alleged intentional discrimination based on race by Principal

Cummings or Ms. West or any other school administrator, an entity such as IISD cannot be held

vicariously liable under Title VI. Gesber, 524 U.S. at 285-88. Thus, insofar as Plaintiff bases his

Title VI claim against the IISD on a theory of vicarious liability for Principal Cummings’s or Ms.

West’s actions, dismissal is required. Further, there are no allegations that any “appropriate person”

was aware of unlawful discrimination by Principal Cummings or any other school administrator and

responded with “deliberate indifference.” Gesber, 524 U.S. at 290; see, e.g., Rubio v. Turner Unified



         15
            In addition, Plaintiff fails to address IISD’s motion to dismiss the Title VI claim insofar as it is premised on
religious discrimination in his response brief and, therefore, has abandoned this claim.

Memorandum Opinion and Order - Page 34
Sch. Dist., 475 F. Supp. 2d 1092, 1099 (D. Kan. 2007) (holding that school district is not liable under

Title VI for the actions of a principal who allegedly prohibited students from speaking Spanish

because the school district did not know the principal had engaged in that behavior).

       Moreover, Plaintiff places much emphasis on the TEA data allegedly showing racial disparity

in student discipline in the IISD and on the report of Dr. Hines allegedly finding the presence of

“dysconscious racism.” See Compl. ¶¶ 15-28. Allegations pertaining to TEA data purportedly

showing racial disparity in student discipline and Dr. Hines’s report concluding that “dysconscious

racism” was present, do not establish that IISD’s leadership knew about intentional discrimination

at McArthur or any specific unlawful disciplinary incident or practice. As the IISD correctly notes,

“Plaintiff’s reliance on raw disciplinary data ignores the fact that damages are only available for

intentional discrimination.” IISD’s Mot. to Dismiss 10 (Doc. 10). Even were the TEA data and Dr.

Hines’s report interpreted to suggest a shortcoming in the disciplinary process, they are insufficient

to demonstrate that the IISD had actual knowledge of, or acted with deliberate indifference to, the

intentional discrimination alleged in the Complaint.

       Finally, with respect to allegations of alleged racial discrimination or harassment at other

schools A.M. attended prior to McArthur, the Complaint contains no allegations from which the

court can infer that a school official with authority to take corrective action had “actual knowledge”

of the harassment or discrimination and responded with “deliberate indifference.” Gesber, 524 U.S.

at 290. As already stated, a school district cannot be held vicariously liable for the allegedly

discriminatory acts of its employees. Id. at 285-88.

       Accordingly, the court concludes that Plaintiff fails to state a valid claim under Title VI

against Defendant IISD for intentional discrimination based on race.


Memorandum Opinion and Order - Page 35
        C.      Principal Cummings and the IISD’s Request for a Stay of Discovery

        Defendants Principal Cummings and the IISD contend that all discovery should be stayed

because Plaintiff has not pleaded facts to overcome Principal Cummings’s qualified immunity

defense. As the court has dismissed all claims and is allowing Plaintiff an opportunity to amend as

to those claims dismissed without prejudice, the court will deny as moot the Motion to Stay

Discovery.

IV.     Conclusion

        For the reasons herein stated, the court grants Defendant City of Irving’s Motion to Dismiss

(Doc. 8); grants Defendant Irving Independent School District’s Motion to Dismiss and denies as

moot its Motion to Strike (Doc. 10); grants Defendant Daniel Cummings’s Motion to Dismiss and

denies as moot his Motion to Strike (Doc. 11); and denies as moot Defendant Irving Independent

School District and Daniel Cummings’s Joint Motion to Stay Discovery Pending Resolution of

Motions to Dismiss (Doc. 22).

        The court dismisses without prejudice the following claims: Plaintiff’s section 1983 claims

against the IISD and Principal Cummings for alleged violations of A.M.’s right to equal protection

under the Fourteenth Amendment; Plaintiff’s Title VI claim against the IISD insofar as it is based

on race discrimination; and Plaintiff’s section 1983 claim against the City insofar as it is premised

on alleged violations of the Fourth Amendment. The court also dismisses without prejudice

Plaintiff’s claim for joint and several liability, as Plaintiff has not offered any allegations addressing

the elements of such a claim. The court dismisses with prejudice Plaintiff’s Title VI claim against

the IISD insofar as it is based on religious discrimination; and Plaintiff’s section 1983 claim against

the City insofar as it is premised on alleged violations of the Fifth Amendment.


Memorandum Opinion and Order - Page 36
         The court believes, because of Supreme Court and Fifth Circuit precedent, that Plaintiff

should be permitted an opportunity to amend his pleadings with respect to those allegations that are

factually deficient. Accordingly, as to those claims dismissed without prejudice, Plaintiff is

permitted to file an amended complaint on or before Thursday, June 1, 2017.16 If Plaintiff fails to

cure the pleading deficiencies identified by the court by this date, this action is subject to dismissal

with prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6), or without prejudice pursuant

to Federal Rule of Civil Procedure 41(b) for failure to comply with a court order. As to those claims

dismissed with prejudice in this memorandum opinion and order, the court concludes that allowing

amendment would be futile, as there is no legal basis for those claims.

         It is so ordered this 18th day of May, 2017.




                                                             _________________________________
                                                             Sam A. Lindsay
                                                             United States District Judge




         16
            In addition to requesting an opportunity to replead, Plaintiff asks the court “for leave to file a Rule 7(a) Reply
to the specific issue of qualified immunity[.]” Pl.’s Resp. to Defs.’ Mot. to Stay Discovery 9 (Doc. 23). The court is
allowing Plaintiff leave to amend his pleadings as to certain claims asserted against the City and the IISD. In the interest
of judicial economy, to the extent Plaintiff decides to amend his pleadings against Principal Cummings tailored to his
assertion of qualified immunity, Plaintiff shall do so in the amended complaint, rather than in a separate Rule 7(a) reply,
as an amended pleading, if filed in accordance with the court’s instructions, accomplishes the same objective. The court
will consider Plaintiff’s request for limited discovery only if it concludes the amended allegations are sufficient to defeat
Principal Cummings’s assertion of qualified immunity.

Memorandum Opinion and Order - Page 37
